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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11   BARRY ROSEN,                                          Case No. 2:15-cv-05789-ODW-JC
12                         Plaintiff,                      ORDER DENYING MOTION TO
            v.                                             SET ASIDE ENTRY OF DEFAULT
13                                                         [61]
     MICHAEL “MIKE” MEDLIN DBA
14   AFFORDABLE AUTOGRAPHS,
     AFFORDABLE AUTOGRAPHS
15   HOLLYWOOD; HOLLYWOOD SHOW,
     LLC, A CALIFORNIA LIMITED
16   LIABILITY COMPANY; AND DOES 1-
     10.
17
                           Defendants.
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20          Defendant Michael Medlin moves to set aside a default entered against him
21   under Federal Rule of Civil Procedure 55(c). (ECF No. 61.) Plaintiff Barry Rosen
22   argues the motion should be denied because 1) Defendant failed to meet and confer
23   prior to the filing of his motion; 2) Defendant continues to violate this Court’s orders;
24   and 3) Defendant lacks a meritorious defense. For the following reasons, the Court
25   DENIES Defendant’s motion.1
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28    After carefully considered the papers filed in support of and in opposition to the Motion, the Court
     deems the matter appropriate for decision without oral argument. Fed. R. Civ. P. 78; L.R. 7-15.

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 1                           I.     FACUTAL BACKGROUND
 2         This action concerns copyright issues within the autograph dealing industry.
 3   Defendant obtains celebrity autographs on photographs that he prints off the Internet
 4   and subsequently sells them for profit. (ECF No. 38, Opp’n 2.)
 5         On July 20, 2015, Plaintiff, a photographer, filed his original Complaint
 6   alleging that Defendant printed a copyrighted photograph of Ali Landry from the
 7   Internet, obtained her signature, and sold the photograph as memorabilia. (ECF No.
 8   1.) Service of the Summons and Complaint were personally served on Defendant at
 9   5400 W. Century Blvd., Los Angeles, California. (ECF No. 8.) Defendant filed his
10   Answer to the original Complaint on September 2, 2015.            (ECF No. 23.)   On
11   September 10, 2015, Plaintiff filed his First Amended Complaint. (First Amended
12   Complaint (“FAC”), ECF No. 25.) The FAC was served on Defendant by first class
13   U.S. mail at 5936 Carlton Way, No. 11, Hollywood, California–the address Defendant
14   listed on his previously filed Answer. (ECF Nos. 23, 26.) Defendant failed to answer
15   the FAC, and on October 8, 2015, the Clerk entered default against Defendant. (ECF
16   No. 33.) On October 14, 2015, Defendant moved to set aside the default, claiming he
17   never received the FAC. (ECF No. 35.) The Court granted Defendant’s motion and
18   gave Defendant 14 days to respond to Plaintiff’s FAC. (ECF No. 54.) Defendant
19   again failed to do so, and on January 8, 2016, the Clerk entered default against
20   Defendant. (ECF No. 56.) Defendant now moves to set aside entry of default on the
21   grounds that he misunderstood this Court’s order. (ECF No. 61.)
22                                II.   LEGAL STANDARD
23         Under Rule 55(c), a court may set aside entry of default for good cause, and
24   may set aside default judgment under Rule 60(b). For setting aside an entry of
25   default, the Ninth Circuit has identified three factors as important in a Rule 55(c)
26   good-cause analysis: (1) the moving party’s culpable conduct, (2) prejudice to the
27   non-moving party and (3) the moving party’s meritorious defenses. TCI Grp. Life Ins.
28   Plan v. Knoebber, 244 F.3d 691, 696 (9th Cir. 2001). These factors are disjunctive,


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 1   and “a finding that any one . . . is true is sufficient reason for the district court to
 2   refuse to set aside the default.” United States v. Signed Personal Check No. 730 of
 3   Yubran S. Mesle, 615 F.3d 1085, 1091 (9th Cir.2010). As for setting aside a default
 4   judgment, a court may relieve a party of an order for several enumerated reasons, such
 5   as mistake, newly discovered evidence, fraud, void judgment, satisfied judgment, or
 6   “any other reason that justifies relief.” Fed. R. Civ. P. 60(b)(1–6). With respect to the
 7   “any other reason” prong, Ninth Circuit case law allows a party to seek relief under
 8   this   catchall   provision   only     when   the   party   demonstrates   “extraordinary
 9   circumstances” warranting a court’s favorable exercise of discretion. Cmty. Dental
10   Servs. v. Tani, 282 F.3d 1164, 1168 (9th Cir. 2002).
11                                   III.    DISCUSSION
12          The party seeking to set aside the default bears the burden of demonstrating that
13   there is good cause to do so. Franchise Holding II, LLC. v. Huntington Rests. Grp.,
14   Inc., 375 F.3d 922, 926 (9th Cir.2004). The Court finds that Defendant has not met its
15   burden and that his culpable conduct is enough to justify the Court’s refusal to set
16   aside his default.
17          The Ninth Circuit has “typically held that a defendant's conduct was culpable
18   for purposes of the [good cause] factors where there is no explanation of the default
19   inconsistent with a devious, deliberate, willful, or bad faith failure to respond.” TCI,
20   244 F.3d at 698. Thus, “a defendant's conduct is culpable if he has received actual or
21   constructive notice of the filing of the action and intentionally failed to answer.” Id. at
22   697 (quoting Alan Neuman Prods., Inc. v. Albright, 862 F.2d 1388, 1392 (9th
23   Cir.1988)). In this context, “intentionally” means that “a movant cannot be treated as
24   culpable simply for having made a conscious choice not to answer; rather, to treat a
25   failure to answer as culpable, the movant must have acted with bad faith, such as an
26   ‘intention to take advantage of the opposing party, interfere with judicial decision-
27   making, or otherwise manipulate the legal process.’” Signed Pers. Check No. 730 of
28   Yubran S. Mesle, 615 F.3d at 1092–93 (quoting TCI, 244 F.3d at 697).


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 1         Defendant’s repeated inability to comply with court rules has resulted in three
 2   Requests for Entry of Default (ECF Nos. 15, 32, 55), two Entries of Default (ECF
 3   Nos. 33, 56), two Motions to Set Aside Default (ECF Nos. 35, 61(present motion)),
 4   and one Motion for Default Judgment (ECF No. 66, pending). These indiscretions,
 5   coupled with Defendant’s inadequate justifications, tend to show his intent to interfere
 6   with the judicial-decision making process.
 7         First, Local Rule 7-3 requires “counsel contemplating the filing of any motion”
 8   to first contact opposing counsel “to discuss thoroughly, preferably in person, the
 9   substance of the contemplated motion and any potential resolution.” Local Rule 7-3.
10   This Court’s Standing Order makes clear that the pro per status of one or more parties
11   does not negate this requirement. Defendant states in his Notice of Motion (ECF No.
12   61) that he met and conferred with Plaintiff’s counsel on January 15, 2016. However,
13   Defendant states in a sworn declaration that no such meeting occurred. (Adam Gafni
14   Decl., ¶ 5.)
15         Second, Defendant filed a Proof of Service for this Motion in which he
16   represents (under penalty of perjury) that he served motion papers on Plaintiff’s
17   counsel via U.S. Mail on January 15, 2016. (Dkt. No. 64.) Nonetheless, Plaintiff’s
18   counsel states in a sworn declaration that he never received such documents and only
19   learned of the motion on January 26, 2016, when the documents were uploaded and
20   emailed via the ECF system. (Gafni Decl., ¶ 2.)
21         Third, Defendant failed to timely answer the initial complaint (ECF No. 15),
22   failed to timely answer the FAC (ECF No. 32), and again failed to comply with this
23   Court’s order to answer the FAC (ECF No. 55). In the December 23, 2015 Order
24   Granting Motion to Set Aside Entry of Default, this Court clearly ordered Defendant
25   to respond to the FAC within 14 days. Defendant claims both that he received the
26   First Amended Complaint a week late and that he misunderstood the Court’s order to
27   mean 14 business days. While the Court recognizes Defendant’s pro se status, pro se
28   litigants must follow the same rules of procedure that govern other litigants. See King


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 1   v. Atiyeh, 814 F.2d 565, 567 (9th Cir. 1987); Local Rule 83-2.2.3 (“Any person
 2   appearing pro se is required to comply with these Local Rules” and other federal rules
 3   of evidence and procedure). This Court has given Defendant numerous opportunities
 4   to comply with its Rules, but Defendant has exhibited an inability to do so.
 5          Fourth, Defendant displays a pattern and practice of questionable tactics
 6   throughout this litigation. For instance, in Defendant’s first Motion to Set Aside Entry
 7   of Default, he asserted that never received the FAC, but did not claim that the proof of
 8   service was defective, or that it listed an incorrect address. (ECF No. 36.) To the
 9   contrary, the FAC was served at the exact address listed on Defendant’s Answer to the
10   original Complaint. (ECF No. 25.) Additionally, Defendant refused to participate in
11   the required Federal Rule of Civil Procedure 26(f) conference of counsel. (ECF No.
12   39.)
13          Defendant’s consistent inability to follow court rules has caused significant
14   delay of the proceedings, and Defendant fails to offer a credible, good faith
15   explanation for his conduct. Plaintiff will incur additional costs should the default be
16   set aside. Defendant’s actions are hindering Plaintiff’s ability to efficiently litigate its
17   claims.
18          While Defendant’s culpable conduct is enough to justify this Court’s refusal to
19   set aside his default, it should be noted that Defendant also failed to put forward a
20   meritorious defense based on fair use. See Meadows v. Dominican Republic, 817 F.2d
21   517, 521 (9th Cir. 1987) (“If a default judgment is entered as the result of a
22   defendant's culpable conduct, however, we need not consider whether a meritorious
23   defense was shown, or whether the plaintiff would suffer prejudice if the judgment
24   were set aside.”)
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 2                                IV.   CONCLUSION
 3         In light of the foregoing, the Court DENIES Defendant’s motion to set aside
 4   entry of default.
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 6         IT IS SO ORDERED.
 7         April 12, 2016
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 9                             ____________________________________
10                                      OTIS D. WRIGHT, II
                                UNITED STATES DISTRICT JUDGE
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